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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
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					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							April 22, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Malave (Amended Opinion).&nbsp; ICA s.d.o., filed 05/29/2019 [ada], 144 Haw. 386. Application for Writ of Certiorari, filed 08/06/2019.&nbsp;&nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/27/2019 [ada].&nbsp; S.Ct. Opinion, filed 04/20/2020.

							Family Court, 1st Circuit
							
						
												
							April 22, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Martin. ICA s.d.o., filed 03/29/2019.&nbsp;ICA Amended s.d.o., filed 03/29/2019 [ada], 144 Haw. 153.&nbsp; Application for Writ of Certiorari, filed 08/07/2019. &nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/18/2019 [ada].

							Circuit Court, 3rd Circuit
							
						
												
							April 22, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Pennymac Loan Services, LLC v. Ortega (Order Granting April 3, 2020 Motion to Dismiss Appeal for Lack Appellate Jurisdiction).

							Circuit Court, 1st Circuit
							
						
												
							April 22, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							HSBC Bank USA v. Bonilla (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 2nd Circuit
							
						
												
							April 22, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Silva (Order Rejecting Application for Writ of Certiorari). ICA s.d.o., filed 11/29/2019 [ada], 145 Haw. 299. Application for Writ of Certiorari, filed 02/24/2020.

							Circuit Court, 1st Circuit
							
						
												
							April 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Safadago (mem.op., vacated and remanded).

							Circuit Court, 5th Circuit
							
						
												
							April 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Skahan v. Stutts Construction Company (Order Denying the April 13, 2020 Motion for Reconsideration and Dismissing the April 14, 2020 Motion for Reconsideration). ICA Order Dismissing the Appeal, filed 03/14/2017 [ada].&nbsp;Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/17/2017.&nbsp;&nbsp;ICA Order Granting the March 17, 2017 Motion for Reconsideration, filed 04/03/2017 [ada]. ICA s.d.o., filed 04/01/2020 [ada]. Motion for Reconsideration, filed 04/13/2020 [ada]. Motion for Reconsideration, filed 04/14/2020. Motion for Reconsideration, filed 04/21/2020.

							Labor and Industrial Relations Appeals Board
							
						
												
							April 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ally Bank v. Hochroth (s.d.o., vacated and remanded). Consolidated with CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							April 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Semes (Order Accepting Application for Writ of Certiorari). &nbsp; ICA s.d.o., filed 12/06/2019 [ada], 145 Haw. 442.&nbsp; Application for Writ of Certiorari, filed 03/09/2020.

							Circuit Court, 2nd Circuit
							
						
												
							April 20, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Ogeone v. Crabtree (Order Denying Petition for Writ of Mandamus). Petition for Writ of Mandamus, filed 03/23/2020.

							Original Proceeding
							
						
												
							April 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Eckard Brandes, Inc. v. Department of Labor and Industrial Relations. ICA Order Dismissing Appellate Court Case Number CAAP-XX-XXXXXXX for Lack of Appellate Jurisdiction, filed 05/21/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 07/19/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 08/29/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							April 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Malave. ICA s.d.o., filed 05/29/2019 [ada], 144 Haw. 386. Application for Writ of Certiorari, filed 08/06/2019.&nbsp;&nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/27/2019 [ada].&nbsp; S.Ct. Amended Opinion, filed 04/22/2020 [ada].

							Family Court, 1st Circuit
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Galolo v. Galolo (Order Granting Motion to Dismiss Appeal).

							Family Court, 1st Circuit
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Alameda v. Politano (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Choi v. Victoria’s Secret Stores, LLC (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Hawaii Medical Service Association v. Nitta (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Umayam v. Sutter Health Pacific (Order Granting Motion to Dismiss Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							HSBC Bank USA v. McMillan (Order Granting February 21, 2020 Motion to Dismiss Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 2nd Circuit
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							NH v. SK (Order Granting February 13, 2020 Motion to Determine Jurisdiction and Dismissing Appeal for Lack of Appellate Jurisdiction).

							Family Court, 5th Circuit
							
						
												
							April 17, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							DL v. CL. ICA s.d.o., filed 02/28/2019 [ada], 144 Haw. 66. Motion for Reconsideration, filed 03/11/2019. ICA Order Denying Motion for Reconsideration, filed 03/15/2019 [ada].&nbsp;Application for&nbsp;Writ of Certiorari, filed 06/27/2019.&nbsp;&nbsp;S.Ct. Order Accepting Application for&nbsp;Writ of Certiorari, filed 08/06/2019 [ada].

							Family Court, 1st Circuit
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Makila Land Co. v. Heirs or Assigns of APAA (Order of Correction). ICA Opinion, filed 04/06/2020 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							April 17, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Luke.

							Circuit Court, 1st Circuit
							
						
												
							April 16, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Stone (Order Accepting Application for Writ of Certiorari). ICA s.d.o., filed 11/27/2019 [ada], 145 Haw. 298. Application for Writ of Certiorari, filed 03/05/2020.

							Circuit Court, 1st Circuit
							
						
												
							April 16, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re: Mitsuo Yoneji Revocable Trust Dated November 27, 1985.

							Circuit Court, 5th Circuit
							
						
												
							April 15, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Easter Seals Hawaii v. Beardmore (s.d.o., vacated and affirmed).

							District Court, 5th Circuit
							
						
												
							April 15, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Prudential Locations, LLC v. Gagnon (mem. op., vacated &amp; remanded). Consolidated with CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							April 15, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Portillo (s.d.o., affirmed).

							District Court, 5th Circuit
							
						
												
							April 15, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Thomas (s.d.o., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							April 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Office of the Public Defender v. Connors (Interim Order). S.Ct. Interim Order re: Initial Summary Report and Initial Recommendations of the Special Master, filed 04/09/2020 [ada]. Consolidated with SCPW-XX-XXXXXXX.

							Original Proceeding
							
						
												
							April 14, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Wells Fargo Bank v. Fong (Order Accepting Application for Writ of Certiorari). ICA s.d.o., filed 11/06/2019 [ada], 145 Haw. 264. Application for Writ of Certiorari, filed 02/18/2020.&nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 04/14/2020 [ada].

							Circuit Court, 3rd Circuit
							
						
												
							April 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							DJ v. CJ. Concurring and Dissenting Opinion by Nakayama, J., in which Recktenwald, C.J., Joins [ada]. &nbsp;ICA&nbsp;s.d.o., filed 12/26/2017 [ada],&nbsp;141 Haw. 248.&nbsp;Dissenting Opinion by Reifurth, J.&nbsp;[ada]. Application for Writ of Certiorari, filed 02/23/2018. S.Ct. Order Accepting Application for Writ of Certiorari, filed 04/19//2018 [ada].

							Family Court, 1st Circuit
							
						
												
							April 13, 2020
							S.Ct
							SCPR-XX-XXXXXXX [ADA]
							In re: Tom (Order Granting Petition to Resign and Surrender License).

							Original Proceeding
							
						
												
							April 13, 2020
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							Ketchmark v. County of Hawai‘i (Order).

							Original Proceeding
							
						
												
							April 13, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re: Ruggles (Order Denying Without Prejudice Renewed Petition for Extraordinary Writ). Petition for an Extraordinary Writ, filed 03/10/2020.

							Original Proceeding
							
						
												
							April 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Trustees of the Estate of Bernice Pauahi Bishop v. Au (Order Denying Motion for Reconsideration). ICA s.d.o., filed 06/28/2019 [ada], 144 Haw. 434. Motion for Reconsideration, filed 07/04/2019. ICA&nbsp;Order Denying Motion for Reconsideration, filed 07/09/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 09/19/2019. &nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 11/13/2019 [ada].&nbsp;&nbsp;S.Ct. Opinion, filed 03/10/2020 [ada]. Motion for Reconsideration, filed 04/08/2020.

							Circuit Court, 1st Circuit
							
						
												
							April 13, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Keanaaina (mem.op., affirmed).

							Circuit Court, 3rd Circuit
							
						
												
							April 13, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re: Maximo P. Esteban Trust Dated May 20, 1993. (s.d.o., affirmed and dismissed).

							Circuit Court, 1st Circuit
							
						
												
							April 9, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Montgomery v. Corum (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							April 9, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							U.S. Bank Trust National Association v. Budget Printers, Inc. (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							April 9, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Wilmington Savings Fund Society v. Ryan (mem.op., affirmed). Consolidated with CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.

							Circuit Court, 5th Circuit
							
						
												
							April 9, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Firth v. County of Maui (Order Dismissing Appeal).

							Circuit Court, 2nd Circuit
							
						
												
							April 9, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Hofer (Order Rejecting Application for Writ of Certiorari). ICA s.d.o., filed 11/29/2019 [ada], 145 Haw. 299. Application for Writ of Certiorari, filed 02/28/2020.

							District Court, 3rd Circuit
							
						
												
							April 9, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Office of the Public Defender v. Connors (Interim Order re: Initial Summary Report and Initial Recommendations of the Special Master). Consolidated with SCPW-XX-XXXXXXX. S.Ct. Interim Order, filed 04/15/2020 [ada].

							Original Proceeding
							
						
												
							April 9, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Cui v. State (Order Accepting Application for Writ of Certiorari). ICA mem.op., filed 12/03/2019 [ada], 145 Haw. 441. Application for Writ of Certiorari, filed 03/02/2020.

							Labor and Industrial Relations Appeals Board
							
						
												
							April 8, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							U.S. Bank National Association v. Cariaga (s.d.o., vacated and remanded).

							Circuit Court, 2nd Circuit
							
						
												
							April 8, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Sagapolutele-Silva.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							April 8, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Sandoval (Order Accepting Application for Writ of Certiorari). ICA mem. op., filed 11/20/2019 [ada], 145 Haw. 296.&nbsp; Consolidated with Case Nos. CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX. ICA Amended mem. op., filed. 12/17/2019 [ada], 146 Haw. 115. Application for Writ of Certiorari, filed 02/17/2020.

							Circuit Court, 1st Circuit
							
						
												
							April 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Mai, LLC v. Helder (Order Granting Motion to Dismiss Appeal).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							April 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Swaim v. State (s.d.o., affirmed, vacated, and remanded).

							Circuit Court, 1st Circuit
							
						
												
							April 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							U.S. Bank National Association v. Thede (s.d.o., vacated &amp; remanded).

							Circuit Court, 5th Circuit
							
						
											
				
			
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